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                    5 Attorneys for Plaintiff
                      JON MORENO
                    6

                    7

                    8                                     UNITED STATES DISTRICT COURT

                    9                                    EASTERN DISTRICT OF CALIFORNIA

                   10

                   11 JON MORENO,                                                Case No. 2:23-cv-01597 AC

                   12                      Plaintiff,                            [Removed from Yolo County Superior Court,
DOWNEY BRAND LLP




                                                                                 Case No. CV2023-1277]
                   13               v.
                                                                                 STIPULATION AND ORDER TO ELECT
                   14 APC TOWERS III, LLC,                                       REFERRAL OF ACTION TO
                                                                                 VOLUNTARY DISPUTE RESOLUTION
                   15                      Defendants.                           PROGRAM (VDRP) PURSUANT TO
                                                                                 LOCAL RULE 271
                   16
                                                                                 Action Filed:        June 21, 2023
                   17                                                            Trial Date:          Not Yet Assigned

                   18               Pursuant to Local Rule 271, the parties hereby agree to submit the above-entitled action to

                   19 the Voluntary Dispute Resolution Program

                   20 DATED: September 26, 2023                       DOWNEY BRAND LLP

                   21

                   22                                                 By:                  /s/ Matthew J. Weber
                   23                                                                      MATTHEW J. WEBER
                                                                                            Attorneys for Plaintiff
                   24                                                                          JON MORENO

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                        1890371v1                                            1
                                           STIPULATION AND ORDER TO ELECT REFERRAL OF ACTION TO VDRP
                                Case 2:23-cv-01597-AC Document 9 Filed 09/29/23 Page 2 of 2


                    1 DATED: September 26, 2023                     WINGERT GREBING
                                                                    BRUBAKER & JUSKIE LLP
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                    4                                               By:        /s/ Ian R. Friedman
                                                                                 IAN R. FRIEDMAN
                    5                                                         STEVEN J. SCORDAKIS
                    6                                                          Attorneys for Defendant
                                                                               APC TOWERS III, LLC
                    7

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                    9                                            ORDER

                   10               IT IS SO ORDERED.

                   11 DATED: September 28, 2023

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DOWNEY BRAND LLP




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                                         STIPULATION AND ORDER TO ELECT REFERRAL OF ACTION TO VDRP
